
 1  Kelly Roberts, Plaintiff-Appellant,  v.  Kristen McCormack, L.Ac, Defendant-Appellee. No. 20CA1583Court of Appeals of Colorado, Seventh DivisionJanuary 20, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Boulder County District Court No. 19CV30657 Honorable Patrick
      Butler, Judge
    
    
               
      OPINION
    
    
               
      BERGER, JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                Brown
      and Johnson, JJ., concur
    
    